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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



 JOHN DOE,

                       Plaintiff,
                                                         Civil Action 2:20-cv-4972
        v.                                               Judge Michael H. Watson
                                                         Magistrate Judge Chelsey M. Vascura

 KENYON COLLEGE,

                       Defendant.




                                             ORDER

       This matter is before the Court on Plaintiff’s unopposed Motion for Leave to Proceed

Under a Pseudonym. (ECF No. 2.) For the reasons that follow, Plaintiff’s Motion is

GRANTED.

                                                 I.

       Plaintiff was a student at Kenyon College. (ECF No. 1.) Plaintiff filed his Complaint on

September 22, 2020, asserting claims for gender discrimination, unlawful retaliation, and breach

of contract alleging that Kenyon College erroneously expelled Plaintiff from the College based

on false accusations of sexual misconduct. (Id.) On September 22, 2020, Plaintiff also filed his

Motion to Proceed Under a Pseudonym. (ECF No. 2.) Plaintiff asserts that the circumstances of

this case, which involve the stigmatizing charge of sexual assault and include details of

Plaintiff’s sexual relationship, are such that requiring Plaintiff to proceed under his name would

disclose information of the utmost personal intimacy and subject Plaintiff to lasting social stigma
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and other harms. Plaintiff also asserts that if he is forced to reveal his identity, the identity of his

accuser, “Jane Roe,” and other witnesses would likely become public.

                                                  II.

        Generally, a complaint must state the names of all the parties. Fed. R. Civ. P. 10(a).

However, the Court “may excuse plaintiffs from identifying themselves in certain

circumstances.” Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004). “In exercising its discretion,

a court must balance the public’s common law right of access to court proceedings against the

interests of litigants in nondisclosure.” Malibu Media, LLC v. Doe, No. 2:15-CV-2519, 2015

WL 12698036, at *1 (S.D. Ohio Aug. 26, 2015) (citing In re Polemar Constr. Ltd. P’ship, 23 F.

App’x. 423, 425 (6th Cir. 2001). To determine whether a plaintiff’s privacy interests outweigh

the presumption in favor of openness, the United States Court of Appeals for the Sixth Circuit

has identified factors to consider, including:

        (1) whether the plaintiffs seeking anonymity are suing to challenge governmental
        activity; (2) whether prosecution of the suit will compel the plaintiffs to disclose
        information ‘of the utmost intimacy’; (3) whether the litigation compels plaintiffs
        to disclose an intention to violate the law, thereby risking criminal prosecution; and
        (4) whether the plaintiffs are children.”

Porter, 370 F. 3d at 560 (citing Doe v. Stegall, 653 F.2d 180, 185-86 (5th Cir. 1981)). It is also

relevant to consider whether the defendants are being forced to proceed with insufficient

information to present their arguments against the plaintiff’s case. Id. at 561.

                                                  III.

        The Court is persuaded that, in considering the Porter factors, Plaintiff’s privacy interests

outweigh the presumption in favor of openness. Porter, 371 F.3d at 560 (citing Doe v. Stegall,

653 F.2d 180, 185-86 (5th Cir. 1981). As to the second Porter factor (regarding the intimate

nature of the information at issue), Plaintiff’s claims arise out of Defendant’s handling of claims

that Plaintiff sexually assaulted another student with whom he had an intimate sexual
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relationship. The Complaint details Plaintiff’s sexual relationship with his accuser, criminal

charges Plaintiff faced, and the College’s investigation process. Courts in this Circuit have

allowed plaintiffs challenging university treatment of sexual misconduct allegations to proceed

under a pseudonym. See, e.g., Doe v. Univ. of the South, 687 F. Supp. 2d 744, 764 (E.D. Tenn.

2009) (affirming Report and Recommendation allowing plaintiff to proceed under a pseudonym

where plaintiff was challenging university’s treatment of sexual misconduct claims against him);

Doe v. Univ. of South, No. 4:09-CV-62, 2011 WL 13187184, at *19 (E.D. Tenn. July 8, 2011)

(allowing plaintiff to proceed under a pseudonym because “being accused of sexual assault is a

serious allegation with which one would naturally not want to be identified publicly”). As to the

third Porter factor (whether the litigation would require disclosure of criminal activity), a factor

in this litigation may be whether Plaintiff actually sexually assaulted his accuser, which may

require disclosing criminal activity.

       Plaintiff also correctly points out that the public interest weighs in favor of allowing him

to proceed anonymously to protect the identity of his accuser. Courts throughout the country

have routinely found that the privacy interests of alleged sexual assault victims outweigh the

presumption in favor of openness. See Doe v. Blue Cross & Blue Shield United of Wisconsin,

112 F.3d 869, 872 (7th Cir. 1997) (“[F]ictitious names are allowed when necessary to protect the

privacy of . . . rape victims, and other particularly vulnerable parties or witnesses.”); K.S. v.

Detroit Pub. Sch., No. 14-12214, 2015 WL 13358204, at *3 (E.D. Mich. July 22, 2015)

(allowing alleged sexual assault victim to proceed anonymously). Finally, Plaintiff states that his

identity and the identity of his accuser are already known to Defendant and its counsel, such that

Defendant will not be prejudiced in its ability to defend this action. Defendant does not oppose

Plaintiff’s request to proceed anonymously.



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                                               IV.

      Under the circumstances, the Court finds compelling reasons to protect Plaintiff’s

privacy. Therefore, Plaintiff’s Unopposed Motion for Leave to Proceed Anonymously (ECF No.

2) is GRANTED. Plaintiff may proceed in this action under the pseudonym John Doe.

      It is further ORDERED that:

       (1)   In all publicly-filed documents, Plaintiff shall be identified only as John Doe. All
             documents filed with this Court that contain the full name of Plaintiff, or contain
             information that identify Plaintiff, directly or indirectly, shall be filed under seal.
             The filing party must also contemporaneously file a public version with any
             identifying information redacted.

       (2)   The parties shall take all other reasonable steps to prevent Plaintiff’s true
             identities from being disclosed.



      IT IS SO ORDERED.



                                                     /s/ Chelsey M. Vascura
                                                     CHELSEY M. VASCURA
                                                     UNITED STATES MAGISTRATE JUDGE




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